Case 6:14-cv-00546-CE|\/|-KRS Document 1 Filed 04/04/14 Page 1 of 8 Page|D 1

IN THE UNITED STATES DISTRICT COUR'I`
FOR THE MIDDLE DISTRICT OF FLORIDA

oRLANDo DlvlsloN _ ‘;§;;‘
CARlN LEE, 3 113 :.';
Plaimiff, g
-VS- n ;.:
CREDIT oNE BANK, _ d
and GC sEvacEs, L.P. cAsE No.: é, ,' l C{ C,.l/ §(-éé> 'O/d- ' QZWS
/

 

COMPLAINT
Plaintiff, CARIN LEE, by and through her undersigned counsel, sues the
Defendants, CREDI'I` ONE BANK and GC SERVICES, L.P., and in support thereof respectfully
alleges the following:
l. Plaintiff alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et
seq. (“TCPA”), and the Florida Consumer Collections Practices Act, Chapter 559, et seq.

(“FCCPA”).

,|URISDICTION AND VENUE
2. This is an action for damages exceeding Fifteen Thousand Dollars ($15,000.00) exclusive

ofattomey’s fees and cost.

3. Jurisdiction and venue for purposes of this action are appropriate and conferred by 47
U.S.C. §227(b)(3) and/or F.S. §47.011.

4. Venue is proper in this District because the Plaintiff resides in this District (Volusia
County) and the Defendant transacts business in Volusia County, Florida.

FACTUAL ALLEGATIONS

Case 6:14-cv-00546-CE|\/|-KRS Document 1 Filed 04/04/14 Page 2 of 8 Page|D 2

5. Plaintiff is a natural person, and citizen of the State of Florida, residing in Leon County,
Florida, and resides in this District. Plaintiff is a “consumer” as defined in Florida Statute
559.55(2).

6. Defendant, CREDIT ONE BANK, is a corporation and a citizen of the State of Nevada
with its principal place of business at 585 Pilot Road, Las Vegas, Nevada.

7. Defendant, GC SERVICES, L.P., is a corporation and a citizen of the State of Delaware
with its principal place of business at 6330 Gulfton, Houston, Texas.

8. The conduct of Defendants which gives rise to the cause of action herein alleged occurred
in this District, Volusia County, Florida.

9. Defendants, at all times material, was attempting to collect on a Credit One Bank account
with the Account number ending in 4484 in the approximate amount of $663.91 (hereinafter the
“subject account”).

10. Defendant, ' CREDIT ONE BANK, knowingly and/or willfully harassed and abused
Plaintiff on numerous occasions by calling Plaintiff`s cellular telephone number at between
seven (7) and eight (8) times a day from April, 2013 through the filing of this complaint, with
such frequency as can reasonably be expected to harass, all in an effort related to the collection
of the subject account.

11. Defendant, GC SERVICES, L.P., knowingly and/or willfully harassed and abused
Plaintif`f on numerous occasions by calling Plaintiff" s cellular telephone number three (3) to four
(4) times a day beginning in February, 2014 with such frequency as can reasonably be expected
to harass, all in an effort related to the collection of the subject account.

12. Upon information and belief, some or all of the calls the Defendant, CREDIT ONE

BANK’s, made to the Plaintiff’s cellular telephone number were made using an “automatic

Case 6:14-cv-00546-CE|\/|-KRS Document 1 Filed 04/04/14 Page 3 of 8 Page|D 3

telephone dialing system” which has the capacity to store or produce telephone numbers to be
called, using a random or sequential number generator (including but not limited to a predictive
dialer) or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C
§227(a)(l) (hereinafier “autodialer calls”); as each time Plaintiff answered one of Defendant’s
calls ...... and when Plaintiff called CREDIT ONE BANK to speak with a representative about
the calls continuing even after she has made a payment the CREDIT ONE BANK representative
advised her that the calls are computerized and they automatically call her if she is behind in
payments.

13. Each of the autodialer calls the Defendants made to the Plaintiff`s cellular telephone
number was done so without the “prior expressed consent” of the Plaintiff.

14. In approximately July, 2013, Plaintiff began receiving these autodialer calls from
Defendant, CREDI'I` ONE BANK, on her cellular telephone number, (305) 851-1681,
concerning the subject account. Plaintiff explained that she was making payments as best she
could but was told the calls would continue until she was current.

15. Plaintiff is the subscriber, regular user and carrier of the cellular telephone number, (305)
851-1681, and was the called party and recipient of Defendant CREDlT ONE BANK’s
autodialer calls.

16. 'I'he autodialer calls from Defendant, CREDH` ONE BANK, came from the telephone
numbers (210) 892-2188 and (732) 867-2871.

17. After receiving numerous autodialer calls to her cellular telephone number from
Defendant, CREDl'I` ONE BANK, dating back to approximately July, 2013, Plaintiff spoke a
representative of Defendant in approximately mid-November, 2013, and requested the calls from

Defendant stop and to be taken off the Defendant’s call list.

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Case 6:14-cv-00546-CE|\/|-KRS Document 1 Filed 04/04/14 Page 4 of 8 Page|D 4

18. Despite informing Defendant, CREDIT ONE BANK, to stop calling, the Defendant’s
autodialer calls to Plaintiff’s cellular phone continued.

19. The autodialer calls from Defendant, CREDIT ONE BANK, continued approximately, on
average, seven (7) to eight (8) times a day from December, 2013, through to January, 2014.
Defendant has, or should be in possession and/or control of ca11 logs, account notes, autodialer
reports and/or other records that detail the exact number of autodialer calls made to Plaintiff over
the relevant time period.

20. While Plaintiff did not keep detailed records of all the autodialer calls made by
Defendant, CREDIT ONE BANK, to Plaintist cellular telephone number, estimates
approximately 160 calls for the period of December 4, 2013 through January 3, 2014. Attached
hereto as Exhibit “A” is a list of the dates and times of calls to Plaintih°s cellular telephone
from CREDIT ONE BANK,

21. In approximately February, 2014, Plaintiff began receiving these autodialer calls from
Defendant, GC SERVICES, L.P., on her cellular telephone number, (305) 851-1681, concerning
the subject account.

22. After receiving approximately 57 autodialer calls to her cellular telephone number from
Defendant, GC SERVICES, L.P., Plaintiff spoke to a representative of Defendant on
approximately February 26, 2014, and requested the calls from Defendant stop and to be taken
off the Defendant’s call list. While Plaintiff did not keep detailed records of all the autodialer
calls made by Defendant, attached hereto as Exhibit “B” is a list of the dates and times of calls
to Plaintifi’s cellular telephone from GC SERVICES, L.P.

23. The Defendant, CREDIT ONE BANK, has a corporate policy to use an automatic

telephone dialing system or a pre-recorded or artificial voice, and to make autodialer calls just as

Case 6:14-cv-00546-CE|\/|-KRS Document 1 Filed 04/04/14 Page 5 of 8 Page|D 5

they did to the Plaintih°s cellular telephone in this case, with no way for the called party and
recipient of the calls, or the Defendant, to permit the removal of the incorrect number,

24. Despite actual knowledge of their wrongdoing, the Defendant, CREDIT ONE BANK,
continued the campaign of autodialer calls, well-beyond November, 2013, when Plaintiff first
advised Defendant to stop calling Plaintiff,

25. Defendant, CREDIT ONE BANK’s corporate policy is structured as to continue to call
individuals like the Plaintiff, despite the individual, like Plaintiff, explaining to the Defendant
that they are the wrong party, do not owe a debt to Defendant, that they are not financially
responsible for the person Defendant is attempting to contact, and advising Defendant to stop
calling.

26, Defendant, CREDIT GNE BANK’s, corporate policy provided no means for the Plaintiff
to have her cellular number removed from the call list, or otherwise permit the cessation of
and/or suppression of calls to Plaintiff.

27. Defendant, CREDIT ONE BANK, knowingly employed methods and/or has a corporate
policy designed to harass and abuse individuals and has set up their autodialer in a manner which
makes it virtually impossible for the autodialer calls to stop.

28. Defendant, CREDIT ONE BANK, knowingly employed methods that did not permit the
cessation of or suppression of autodialer calls to the Plaintifi’s cellular telephone.

29. Due to Defendants’ constant autodialer calls and demands for payment and/or demands
for location information for individuals other than Plaintiff, Plaintiff has suffered statutory and
actual damages in the form of emotional distress, frustration, worry, anger, and/or loss of

capacity to enjoy life.

Case 6:14-cv-00546-CE|\/|-KRS Document 1 Filed 04/04/14 Page 6 of 8 Page|D 6

COUNT I
(Violation of the TCPA against CREDIT ONE BANK)

30. Plaintiff re~alleges and incorporates Paragraphs one (l) through twenty-nine (29) above
as if fully stated herein.
31. None of Defendant, CREDIT ONE BANK’s autodialer calls placed to Plaintiff were for
“emergency purposes” as specified in 47 U.S.C. §227(b)(l)(A).
32. Defendant, CREDI'I` ONE BANK, willfully and/or knowingly violated the TCPA with
respect to the Plaintiff, especially for each of the autodialer calls made to Plaintist cellular
telephone after Plaintiff notified Defendant in November, 2013, when Plaintiff verbally
withdrew her consent to for CREDIT ONE BANK to contact her and told then to stop calling
her.
33. Defendant, CREDIT ONE BANK, repeatedly placed non-emergency telephone calls to
Plaintiff`s cellular telephone using an automatic telephone dialing system or prerecorded or
artificial voice without Plaintiff’s prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, CREDI'I` ONE BANK, for statutory damages, actual damages,
treble damages, costs, interest, and any other such relief the court may deem just and proper.

COUNT ll
(Violation of the “FCCPA” against CREDIT ONE BANK)

34. Plaintiff re-alleges paragraphs one (l) through twenty-nine (29) above as if fully stated
herein:

35. At all times relevant to this action Defendant, CREDIT ONE BANK is subject to and
must abide by the law of Florida, including Florida Statute § 559.72.

36. Plaintiff is an alleged “debtor” and/or “consumer” pursuant to F.S. §559.55(2).

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Case 6:14-cv-00546-CE|\/|-KRS Document 1 Filed 04/04/14 Page 7 of 8 Page|D 7

37. Defendant, CREDIT ONE BANK, has violated Florida Statute §559.72(7) by willfully
communicating with the Plaintiff, a debtor, with such frequency as can be reasonably be
expected to harass the Plaintiff.

38. Defendant, CREDIT ONE BANK, has violated Florida Statute §559.72(7) by willfully
engaging in other conduct which can reasonably be expected to abuse the Plaintiff.

39. Defendant, CREDIT ONE BANK’s, actions have directly and proximately resulted in
Plaintiff"s prior and continuous sustaining of actual and statutory damages as described by
Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

3 judgment against Defendant, CREDI'I` ONE BANK, for statutory damages, actual damages for

emotional and mental pain and suffering, fear, humiliation, embarrassment, frustration and loss
of capacity for the enjoyment of life, costs, interest, attomey’s fees pursuant to F.S. §559.77, and
any other such relief the court may deem just and proper.

(_IQQI`LIII
(Violation of the “FCCPA” against GC SERVICES, L.P.)

40. Plaintiff re-alleges paragraphs one (1) through twenty-nine (29) above as if fully stated
herein:

41. At all times relevant to this action Defendant, GC SERVICES, L.P., is subject to and
must abide by the law of Florida, including Florida Statute § 559.72.

42. Plaintiff is a debtor pursuant to F.S. §559.55(2).

43. Defendant, GC SERVICES, L.P., has violated Florida Statute §559.72(7) by willfully
communicating with the Plaintiff, a debtor, with such frequency as can be reasonably be

expected to harass the Plaintiff.

Case 6:14-cv-00546-CE|\/|-KRS Document 1 Filed 04/04/14 Page 8 of 8 Page|D 8

44. Defendant, GC SERVICES. L.P., has violated Florida Statute §559.72(7) by willfully
engaging in other conduct which can reasonably be expected to abuse the Plaintiff,

45. Defendant, GC SERVICES, L.P.’s, actions have directly and proximately resuited in
Plaintifi`s prior and continuous sustaining ot` actual and statutory damages as described by
Florida Statute §559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant, GC SERVICES, L.P., for statulory damages, actual damages for
emotional and mental pain and suffering, fear, humiliation, embarrassment, frustration and loss
of capacity for the enjoyment of life, costs. interest. attorney`s fees pursuant to F.S. §559.77. and
any other such relief the court may deem just and proper.

Respeetfully submitted,

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Mic?ael J'. Viloria, Esquire

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